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0 TH:E WESTERN DlsTRICT A'r TENNESSEE man i'=.-ii L-:;\.;;» m i- w
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Piaintiff,
‘\/S. CR. NO. 04-20 0 LQVQ¢\
4 1 ~ HO'RT~ON ,GRMTED ` " gun PHIPPS i-i<>cii.t_,.:`i;
DA_RLI\ MALIJN, MM b t U.S k DISTMCT JUM_.,;~_

 

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MOTION REQUESTING RE: SETTU\]G OF SENTENCING DATE

 

Cornes now the defendant, by and through counsel, Bill Anderson Jr., and moves this

court to re:set the sentencing date for the defendant currently scheduled for July 8, 2005, at 2:00
p,m.. Counsel Would show, for good cause, the following:

l . Counsei has had long standing plans to be out of the city on vacation from the dates

of]uly l, 2005 until July 10, 2005.

WHEREFORE, PREMISES CONSIDERED, COUNSEL RESPECTFULLY REQUEST
that the sentencing date in this matter either be advanced to an earlier date prior to July 8, 2005,
or, in the alternative to the next available date after Juiy 10, 005.
Respectfully submitted;

MM;DZ

BILL ANDERSON, Jr. #%§63
142 North Third, 3“'. Floor

Memphis, Tennessee 38103
(90]) 527~6521

 

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CER'[`}FICAVI`E ()F SERVICE
l certify that a copy ofth.e foregoing document has been furnished to the Assistant United

States Attomey, Steve Parker at 16'," North Mai.n Street, Roc)m 800, Memphis, Tennessee 38103

on this the _FQ 7 _ day of ¢f :z? . , 2005.

BY:

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BILL ANDERSON, JR.,
Attorney for Defendant

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UNITED `sATESDTISRIC COURT - WESTERN DSTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 191 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

